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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )       Case No. 4:17CR00062 DPM
                                               )
CORDERO GLASS                                  )

     THE UNITED STATES OF AMERICA’S RESPONSE TO CORDERO GLASS’S
         PRO SE MOTION FOR EARLY TERMINATION OF PROBATION

       The United States of America, by Cody Hiland, United States Attorney for the Eastern

District of Arkansas, and Assistant United States Attorney Cameron C. McCree, opposes Cordero

Glass’s motion for early termination of probation 1 (ECF No. 2). Mr. Glass has not established any

factual basis to justify early termination of his supervision and his criminal history includes violent

conduct within the last 10 years. The United States requests that the Court deny his motion for

early termination and modify his conditions instead.

                                         BACKGROUND

       On September 28, 2011, Mr. Glass pleaded guilty to possession with intent to distribute 5

grams or more of methamphetamine, a violation of Title 21, United States Code, Section 841(a)(1)

and a Class B felony. On January 4, 2012, the Honorable Stephen N. Limbaugh, Jr. of the United

States District Court for the Eastern District of Missouri sentenced Mr. Glass to 60 months in the

Bureau of Prisons to be followed by 48 months of supervised release. The Court directed that

during his supervision, Mr. Glass must submit to drug testing and attend substance abuse treatment,

among other things.



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         Mr. Glass styled his motion is a request to terminate probation. Mr. Glass was not
sentenced to a term of probation; he is on supervised release.
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       Mr. Glass began his supervision on February 3, 2016, and this Court accepted jurisdiction

on March 4, 2017. Mr. Glass’s supervision is scheduled to end in February 2020. Mr. Glass now

seeks to end his supervision early. The United States Probation Office has examined Mr. Glass’s

case and determined that he does not meet that office’s eligibility criteria because on October 2010,

he was convicted of Domestic Battery 3rd Degree (a misdemeanor offense). The United States

opposes Mr. Glass’s request to terminate his supervision a year early.

                                          DISCUSSION

       In determining whether early termination of supervised release is appropriate, the Court

should consider the factors set out in Title 18, United States Code, Section 3553(a). See 18 U.S.C.

§ 3583(e). At sentencing, Judge Limbaugh reviewed the Section 3553(a) factors and determined

that Mr. Glass’s current sentence was sufficient but not greater than necessary to comply with the

purposes of that statute. Mr. Glass’s motion does nothing to demonstrate a material change in

circumstances that would warrant a reassessment of these factors. Mr. Glass contends that early

termination is warranted because he earned a GED, completed the RDAP program (despite not

being eligible for the one-year reduction) and several pre-release programs, has compiled with the

law, and has learned from his past mistakes. Mr. Glass mentions that he is seeking early release

because “he has had a lot of great paying job offers out of state and he wishes to travel the United

States for better job opportunities.”

       Mr. Glass’s overall progress in changing his life, while laudable, is not a sufficient reason

to terminate his supervision early. “Mere compliance with the terms of probation does not justify

early termination because compliance is expected. Without more, early termination cannot be

justified.” United States v. Kattom, Case No. 4:06CR00053-06 JLH, 2009 WL 3783783, *1 (E.D.

Ark. Nov. 10, 2009) (unpublished) (denying motion for early termination of probation because
                                            2
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defendant “presented nothing to show that completion of his term of probation will present some

unusual hardship” and presented no changed circumstances) (citing United States v. Caruso, 241

F. Supp. 2d 466, 469 (D.N.J. 2003)). See also United States v. Terrance Francis Finn, Sr., Case

No. 4:12CR00307 SWW, Docket No. 24 (E.D. Ark. March 18, 2015); United States v. John

Michael Glover, Case No. 4:12CR00162 KGB, Docket No. 25 (E.D. Ark. July 29, 2014). “[T]here

is a general agreement that the early termination of probation . . . is only warranted in cases where

the defendant demonstrates changed circumstances, such as exceptionally good behavior.”

Caruso, 241 F. Supp. 2d at 468 (citing cases).

       Mr. Glass also contends that he needs to end his supervision early to facilitate his

employment. The United States recognizes that if Mr. Glass is to have an opportunity for a

successful future, he must have means of earning an honest living. Nevertheless, to the extent Mr.

Glass complains that his supervision interferes with his employment, the United States submits

that a modification of his conditions could address any issues. For example, the United States

would not oppose an order modifying standard condition 1 so that Mr. Glass can travel out of the

district as needed for work. The United States Probation Office does not oppose a modification of

Mr. Glass’s travel restriction but requests that the Court continue the conditions that require Mr.

Glass to report as directed (standard condition 2) and to permit a probation officer to visit him at

any time (standard condition 10). The United States hopes that Mr. Glass’s good conduct

continues, but if it does not, having him on supervision provides a mechanism to address quickly

any new criminal conduct and to protect the public from a person who has been violent in the past.

                                         CONCLUSION

       For all of the reasons set out in the response, the United States asks that the Court modify

Mr. Glass’s conditions rather than terminate them.
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                                 CERTIFICATE OF SERVICE

       I certify that on January 9, 2019, I filed this response with the Clerk of the Court using the
CM/ECF system, which will send notification of the filing to all counsel of record. A copy of this
response is being mailed to Cordero Glass at the following address:

508 Melrose, Apt. B
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                                                 Cameron C. McCree




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